Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 1 of 12
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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                               MIAMI DIVISION
                              CASE NO. 14-20555-CR-GAYLES
    3

    4    UNITED STATES OF AMERICA,               Miami, Florida

    5                      Plaintiff,            October 6, 2014

    6                vs.                         9:30 a.m. to 10:00 a.m.

    7    ANTHONY PUBLIO BOSCH,

    8                   Defendant.          Pages 1 to 12
         ____________________________________________________________
    9

   10
                                  SHOW CAUSE HEARING
   11                   BEFORE THE HONORABLE DARRIN P. GAYLES,
                             UNITED STATES DISTRICT JUDGE
   12

   13    APPEARANCES:

   14
         FOR THE GOVERNMENT:         MICHAEL SULLIVAN, ESQ.
   15                                ASSISTANT UNITED STATES ATTORNEY
                                     99 Northeast Fourth Street
   16                                Miami, Florida 33132

   17
         FOR THE DEFENDANT:           GUY LEWIS ESQ.
   18                                 LEWIS TEIN, PL
                                      3059 Grand Avenue
   19                                 Suite 340
                                      Coconut Grove, Florida 33133
   20
         FOR U.S. PROBATION:          Laura Estevill
   21

   22    REPORTED BY:                PATRICIA DIAZ, RPR, FPR
                                     Official Court Reporter
   23                                United States District Court
                                     400 North Miami Avenue
   24                                Tenth Floor
                                     Miami, Florida 33128
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Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 2 of 12
                                                                                    2


    1
                   (Call to the order of the Court)
    2              THE COURT: All right. Please be seated.

    3              COURTROOM DEPUTY:    Calling USA versus Anthony Publio

    4    Bosch, case number 14-CR-20555.

    5              Counsel, please state your appearance for the record.

    6              MR. SULLIVAN:    Good morning, Your Honor.      On behalf of

    7    the Government, Michael Patrick Sullivan and Sharad Motiani.

    8              MR. LEWIS:   Good morning, Judge, Guy Lewis here with

    9    Mr. Bosch, who is present.

   10              THE COURT:   All right.    Good morning.

   11              THE PROBATION OFFICER:     Laura Estevill from the Federal

   12    Probation Office.

   13              THE COURT:   All right.    Please be seated.     We are here

   14    for a show cause hearing.      I received a memo from probation,

   15    which indicated the defendant had positive urine specimens on

   16    August 6th and August 18th of this year for the presence of

   17    cocaine, and I wanted to see where we are.

   18              Let me hear first from probation.

   19              THE PROBATION OFFICER:     Yes, Your Honor.     I am required

   20    to report all positive urine test to the Court, which I did.

   21    Since we were having this hearing, I went ahead and got an

   22    Alere opinion from the national lab regarding those two

   23    positives.

   24              Back when I wrote this report, the reason I wrote it as

   25    a violation, it was my opinion that he had reused prior to
Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 3 of 12
                                                                                    3


    1    August 18th because of the time span between the first positive

    2    and the second.

    3              The defendant did report to me when I met with him that

    4    he was a daily cocaine user for the previous four years up

    5    until August 5th, before he was released on supervision.

    6              So the first test I would have considered residual

    7    elimination, but my concern was a second positive, which was

    8    12 days later.

    9              I obtained his position through counsel that they felt

   10    that it was residual -- also either a false positive or

   11    residual elimination because he had been a chronic user.           I did

   12    not request any action, Your Honor, because usually when

   13    people -- it's not uncommon that somebody who has an addiction

   14    problem, they relapse, they use, but we get them in treatment.

   15              He had indicated that he was going to commence private

   16    treatment through a therapist.       I said that's fine as long as

   17    you can produce that documentation to me that you are getting

   18    the treatment that you need and that I would continue drug

   19    testing him twice weekly to make sure that he was made

   20    accountable and that he would give negative specimens.

   21              Since that positive on August 18th, he has given

   22    several -- he had a total of 13 samples and 11 out of the 13

   23    are negative.    So all the tests after August 18th, August 21

   24    through September 30th, have tested negative.

   25              THE COURT:   And did you receive those documents that
Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 4 of 12
                                                                                    4


    1    you requested regarding verification of his treatment?

    2              THE PROBATION OFFICER:     I received them just this

    3    Friday.   I was working out of another office and I got them off

    4    of my fax machine this morning.       And, yes, he is going.

    5    However, my concern is, they listed his attendance as

    6    unsatisfactory.     He was a no show to his appointment with no

    7    call on September 18.

    8              He cancelled at the last minute on September 26th, and

    9    on October 3rd he forgot about his appointment and he arrived

   10    45 minutes late.     They indicated his participation is excellent

   11    when he is going to treatment, and they do require or recommend

   12    that he see the therapist twice weekly for treatment.

   13              Their prognosis is guarded, but, you know, they are

   14    working with him.      His access one diagnosis is cocaine

   15    dependence and alcohol abuse.       And there is also -- it looks

   16    like he is being encouraged also to attend NA and AA meetings.

   17              THE COURT:    Okay.

   18              THE PROBATION OFFICER:     If I could just interject, Your

   19    Honor, the Alere opinion letter I received, which I would like

   20    to give you a copy, dated September 30th, it is their opinion

   21    that the donor reused cocaine prior to the collection of

   22    August 18th.    They base their opinion on chronic use, the lack

   23    of significant decrease in the normalized level of drug present

   24    in the urine specimen collected on that day, the length of time

   25    the donor continues to test positive after the specimen
Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 5 of 12
                                                                                    5


    1    collected on -- you know, 12 days.       So they are basing their

    2    opinion that he reused because the levels did not decrease in

    3    the time frame in which they believe it should have decreased.

    4              THE COURT:   All right.    Thank you.

    5              The Government's recommendation?

    6              MR. SULLIVAN:    Your Honor, the Government is concerned

    7    about the defendant's use of cocaine, actually.         I point out

    8    that we were aware of his abuse problem during the time that we

    9    were investigating him and his co-conspirator prior to the

   10    return of the indictment and his arrest, which was August 5th.

   11              Mr. Bosch signed a cooperation agreement with the

   12    United States prior to August 5th, some months before

   13    August 5th, probably as early as March 2014.         We impressed upon

   14    him at the time that we expected any use of cocaine to be

   15    terminated and full cooperation and obeying the laws of the

   16    United States and the State of Florida.        And it's very

   17    disappointing to the Government that he has come up with these

   18    positive tests.    It may just conclude that -- though we don't

   19    know, a reasonable person might conclude that he was using

   20    drugs during the time that he was supposed to be fully

   21    cooperating with the Government, and that's a great concern to

   22    us that he would do that.

   23              We are pleased to hear that this probation officer

   24    seems to have the situation well in hand, and there are

   25    solutions that the probation officer has proposed.          We think
Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 6 of 12
                                                                                    6


    1    that more frequent testing would be applicable, and perhaps --

    2    and I have discussed it with the probation officer, posing some

    3    kind of curfew, nighttime curfew on Mr. Bosch.

    4              There might be some complications that the probation

    5    officer was more familiar with than I was.         But we know from

    6    our investigation Mr. Bosch was one who liked to party.           He

    7    liked the South Beach clubs and he liked to spend a lot of time

    8    outside at night with friends.       And I am sure that's why he

    9    hasn't been able to get his abuse of cocaine under control.            So

   10    we thought that a nighttime curfew would, one, make the point

   11    that he is under restrictions, that there are provisions that

   12    he must comply with.     And this would certainly be a way that we

   13    could -- hopefully we would know that he is not going to those

   14    South Beach clubs.

   15              The probation officer explained there might be some

   16    complications with that of whether or not an ankle bracelet

   17    might be necessary to really enforce that, but I think we could

   18    at least try it out without the ankle bracelet first because we

   19    will know if he is out there and people are seeing him.           He is

   20    sort of a well-known figure in South Florida at the present

   21    time.   If he is out partying, the Government will hear about

   22    it.

   23              THE COURT:   Okay.   Mr. Lewis.

   24              MR. LEWIS:   Judge, we have no objection to a curfew of

   25    9:00 p.m. to a reasonable hour in the morning.         That's not the
Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 7 of 12
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    1    issue.   Truly, it's not.     The issue is not that he is out.

    2    They've got no evidence he is out partying.         Nobody has any

    3    evidence.    I can tell you he is not out on South Beach.         The

    4    man has been subject to threats.       He has been followed.      His

    5    family has been followed.      Security is a real concern.      They

    6    know that.    The last thing he is doing is out being notorious

    7    in South Florida.

    8              He does have a drug problem, though, and he is

    9    addressing it.    He is addressing it through medical care and

   10    through treatment.

   11              I will point out, Your Honor, that since the positive

   12    test, which occurred literally days when he was first tested

   13    after he was arrested, which I would -- I would argue that is

   14    normal residual cocaine levels that are decreasing.

   15              What's important to me, Judge, is after that initial

   16    positive or that positive that we are here for as a result of

   17    the indication from probation, negative on the 21st from

   18    probation office, negative on the 25th, negative on the 2nd of

   19    September, negative on the 5th of September, negative on the

   20    12th of September, negative on the 5th, which I think was the

   21    date of memo from our probation officer.

   22              Also, since then, Judge Gayles, negative on

   23    September 19th, negative on September the 25th, negative on

   24    September the 26th.     So these are all reports from the

   25    probation office where he is being tested.         It's being sent.
Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 8 of 12
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    1    It's being evaluated and they have come back with zero presence

    2    of any controlled substance in his urine.

    3              I would also indicate that, frankly, the report that we

    4    just received from his doctor, he is receiving professional

    5    medical care from a recognized expert in the South Florida

    6    area, and the doctor indicates -- and we don't take -- frankly,

    7    the doctor indicates in his report that Tony, Mr. Bosch, needs

    8    to be more consistent in his attendance.        And I recognize that,

    9    Judge.   He does.    He recognizes that he is committed to it.

   10              I will say, as a footnote, Judge, he has recently had a

   11    brand new baby child, three months old.        He's got other kids

   12    from another marriage.     He's got parents.     And I am not saying

   13    that as an excuse, but I am saying that the man has got a lot

   14    of pressure on him right now.       And he is doing the very best he

   15    can to juggle this, his home life, trying to work with the

   16    newspaper articles, trying to continue to cooperate.          In fact,

   17    we got a meeting with the U.S. Attorney's Office after this if

   18    Your Honor sees fit.     So he has a lot of pressure on him right

   19    now.

   20              He knows that he has to testify in trials that are

   21    upcoming.   So I would point out, Judge Gayles, that neither

   22    probation nor the U.S. Attorney's Office -- while not the be

   23    all end all, certainly Your Honor is the be all, end all --

   24    neither are recommending modification.        Neither are

   25    recommending -- or at least Mr. Sullivan, as of last Friday,
Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 9 of 12
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    1    wasn't recommending any modification.        I will agree to the

    2    curfew if that's what Your Honor thinks appropriate, and

    3    neither are recommending revocation.

    4              So, I would say, Your Honor, that we recognize the

    5    severity.    We recognize what he has to do.       He is committed to

    6    doing this.    He is committed to his treatment, and he is trying

    7    to get through this.

    8              THE COURT:   All right.    You know, the positive, two

    9    positive drug tests 12 days apart are significant in and of

   10    themselves.    The defendant, prior to today's hearing, was given

   11    an opportunity to seek treatment on his own, and what I learned

   12    today is that he is not even complying with that voluntary

   13    treatment.    In determining whether or not the defendant remains

   14    out, I have to be confident that he is going to show up when

   15    required in court and comply with all the conditions of his

   16    bond.   And, you know, I appreciate your argument, Mr. Lewis,

   17    but the pressure on the defendant I don't find to be a

   18    mitigating factor.     In fact, a person that is a daily user of

   19    cocaine -- which was reported by him to probation -- at least

   20    on a daily basis over the past four years, I don't find he is a

   21    good candidate to remain out on bond.        So I am going to remand

   22    the defendant into custody.

   23              I find that no conditions or a combination of

   24    conditions are sufficient to secure the Court that the

   25    defendant will appear in court as directed.         And I base my
Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 10 of 12
                                                                                 10


     1   finding on both the two positive urine specimens for cocaine on

     2   August 6th and August 18th of 2014, the presence of cocaine,

     3   the defendant's daily use of cocaine at least for some period

     4   of time until after his last positive examination and his

     5   noncompliance with treatment, which he has failed to appear in

     6   scheduled treatment and at least on one occasion he has

     7   appeared 45 minutes late.      So I am going to remand the

     8   defendant into custody based on that finding.

     9             MR. LEWIS:    Your Honor, may I?

   10              Not to reargue the position, but I'm not sure how much

   11    weight you're placing on his last test.        There is, apparently,

   12    a report that we have not received that the pretrial services

   13    officer has made reference to.       We have not received it.

   14              Five minutes before the hearing today I was told about

   15    it.   I am not sure how much reliance Your Honor is placing upon

   16    it, but I think we should get an opportunity to review that.

   17              I would ask Your Honor to set it for a hearing in order

   18    that we could, you know, have a position on this.

   19              THE COURT:    All right.    Well, what I will do -- the

   20    specific report that was just handed to the attorneys, can you

   21    identify it for the Court?

   22              THE PROBATION OFFICER:      Yes, Your Honor.    This is a

   23    toxicology report.     The opinion letter from Alere Toxicology

   24    Services is dated September 30th.        I can give a copy to the

   25    prosecutor as well.     I wanted Your Honor to direct me to give
Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 11 of 12
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     1   these to them before I did so.

     2             THE COURT:    Please provide that.

     3             I am going to remand the defendant today, but based on

     4   the report, you can certainly request an additional hearing

     5   based on his bond status after you have reviewed the report.

     6   But the daily use plus the two positives, plus what -- it

     7   sounds like you're agreeing the defendant didn't comply with

     8   the treatment as directed.

     9             MR. LEWIS:    Judge, I --

   10              THE COURT:    I simply have no confidence in his ability

   11    to appear as directed and -- but you will have a chance to file

   12    a new motion, and I will reconsider it based on whatever you

   13    find.

   14              MR. LEWIS:    Judge, would you consider allowing him to

   15    turn himself in this evening at 5:00 p.m.?

   16              THE COURT:    No, sir, I'm sorry, not under these

   17    circumstances.

   18              All right.    We will be in recess on this case.

   19              COURT SECURITY OFFICER:      All rise.

   20              (Hearing concluded at 9:48 a.m.)

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Case 1:14-cr-20555-DPG Document 30 Entered on FLSD Docket 10/15/2014 Page 12 of 12
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     1                           C E R T I F I C A T E

     2

     3               I hereby certify that the foregoing is an

     4   accurate transcription of the proceedings in the

     5   above-entitled matter.

     6

     7
         October 14, 2014       /s/Patricia Diaz
     8   DATE                   PATRICIA DIAZ, RPR, FPR
                                Official Court Reporter
     9                          United States District Court
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